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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

Plaintiff,

v.


ANDREA R. FIELDS,

Defendant.                                                   No. 10-30066-DRH


                            MEMORANDUM and ORDER

HERNDON, Chief Judge:

             Pending before the Court is Fields’ motion for bill of particulars (Doc.

42). Based on the following, the Court denies the motion. Fields contends that a bill

of particulars is necessary because the discovery fails to inform her fully on the

nature of the prosecution involving distribution as an essential element of the crime.

Based on the following, the Court denies the motion.

             Federal Rule of Criminal Procedure 7(f) provides that the court may

direct the Government to file a “bill of particulars.” Fed.R.Crim.P. 7(f). A bill of

particulars is “a more specific expression of the activities defendant is accused of

having engaged in which are illegal.” United States v. Canino, 949 F.2d 928, 949

(7th Cir. 1991). “The choice to grant or deny such a motion is committed to the

discretion of the trial court, and a decision denying a bill of particulars will be

reversed only if it can be shown that the trial court abused its discretion in doing so.”

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United States v. Fassnacht, 332 F.3d 440, 446 (7th Cir. 2003). To determine

the necessity of a bill of particulars, a court looks at whether the Government's

indictment “sufficiently apprises the defendant of the charges to enable him to

prepare for trial.” Canino, 949 F.2d at 949; see also Fassnacht, 332 F.3d at

446-47. “An indictment which includes each of the elements of the offense charged,

the time and place of the accused's conduct which constituted a violation, and a

citation to the statute or statutes violated is sufficient to pass this test.” Fassnacht,

332 F.3d at 446. In the context of the necessity of a bill of particulars, the Seventh

Circuit has stated that a defendant is “only entitled to know the offense with which

he is charged, not all the details of how it will be proved.” United States v.

Richardson, 130 F.3d 765, 776 (7th Cir. 1997), vacated on other grounds, 526

U.S. 813 (1999). Further, “[i]t is well settled that a bill of particulars cannot be used

to obtain a list of the government's witnesses ... or evidentiary detail.” United States

v. Johnson, 504 F.2d 622, 628 (7th Cir. 1974); see also United States v.

Kendall, 665 F.2d 126, 134-35 (7th Cir. 1981). In addition, a bill of particulars

is not required when the information a defendant needs to prepare his defense is

available through “some other satisfactory form,” such as discovery. United States

v. Hernandez, 330 F.3d 964, 975 (7th Cir. 2003), quoting Canino, 949 F.2d at

949.

             The Court granted the Government until February 7, 2011 to respond

to this motion. Since the Government did not respond, the Court is confronted with


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the dilemma of whether to grant the motion on the presumption that the Government

is confessing the motion by not responding or carefully considering the motion and

making a determination on the merits. The Court chooses the latter course. Upon

careful consideration, the Court finds that Fields is charged with distribution of

heroin resulting in the death of David L. Roth, in violation of 21 U.S.C. § 841(a)(1)

and (b)(1)(c). The indictment sets forth the elements of the offense and sufficiently

apprises Defendant of the charge to enable her to prepare for trial. A bill of

particulars is not necessary in this case. The answer to Defendant’s query of whether

there is a lesser included offense lurking about is not in a bill a particulars but in the

law. Thus, the Court DENIES Fields’ motion for bill of particulars (Doc. 42).

             IT IS SO ORDERED.

             Signed this 18th day of February, 2011.
                                                                        David R. Herndon
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                                                       Chief Judge
                                                       United States District Court




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